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 7                       UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
     DPR CONSTRUCTION, INC.
10                                           NO. CIV. S-06-2158 LKK/DAD

11              Plaintiff,

12        v.

13   PAINTERS AND ALLIED TRADES                       O R D E R
     DISTRICT COUNCIL 16 AND
14   PAINTERS AND ALLIED TRADES
     LOCAL UNION NO. 376,
15
                Defendants.
16                                   /

17        This case involves awards made by two different arbitral

18   bodies over the same disputed work assignment.        Pending before the

19   court is plaintiff’s motion for summary judgment.        Plaintiff seeks

20   to confirm an award made by the Project Labor Agreement (“PLA”) in

21   favor of plaintiff and to vacate an award made by the Drywall

22   Finishers Joint Adjustment Board (“DFJAB”) in favor of defendants.

23   Defendants do not oppose confirming the PLA arbitrator’s award but

24   oppose the court vacating the DFJAB decision, arguing that both

25   awards may co-exist.     The court resolves the matter on the papers

26   and after oral argument.       For the reasons set forth below, the

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 1   motion is granted.

 2                                        I. Facts1

 3            Plaintiff, as Construction Manager of the Genetech Expansion

 4   Project, is party to a PLA entered into on July 28, 2004 by

 5   plaintiff’s predecessor and by the defendant union.               Plaintiff is

 6   also a signatory to the Northern California Drywall Finishers

 7   Master Agreement, a local collective bargaining agreement (“CBA”)

 8   that allegedly prohibits plaintiff from subcontracting jobs to

 9   workers who are not a party to the agreement.                Defendants claim

10   that plaintiff subcontracted out the installation of an epoxy resin

11   to a subcontractor who had not signed the Drywall Finishers Master

12   Agreement.         Because    of   this   subcontract,    defendants    filed   a

13   grievance against plaintiff on May 25, 2006.                The grievance was

14   filed under the CBA and a hearing was scheduled by the Drywall

15   Finishers Joint Adjustment Board (“DFJAB”) for July 6, 2006.

16        A meeting was held between the parties on June 21, 2006, at

17   which time they made their respective positions known. Defendants’

18   position     was    that     plaintiff    was   in   violation   of   the   CBA’s

19   subcontracting clause, while plaintiff insisted that the dispute

20   was superceded by the PLA.                On June 26, 2006, plaintiff was

21   informed of the scheduled DFJAB grievance hearing.               That same day,

22   plaintiff notified defendants of its intention to refer the dispute

23   to the permanent arbitrator for the PLA, and that it was requesting

24   the matter be heard on July 19, 2006.

25

26        1
              The relevant facts are not in dispute.

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 1        On July 6, 2006, DFJAB heard the grievance and ruled that

 2   plaintiff was responsible to defendants for an amount equal to the

 3   wages and benefits paid to plaintiff’s subcontractor who had

 4   actually done the work.      Counsel for plaintiff appeared prior to

 5   the start of the meeting to state that the Board did not have

 6   jurisdiction over the grievance and left a letter to the same

 7   effect.

 8        On July 25, 2006, the permanent arbitrator under the PLA,

 9   Gerald McKay, issued his decision and award, finding that the

10   defendant was in violation of the PLA for attempting to enforce a

11   subcontracting provision under the CBA by obtaining a decision from

12   DFJAB.    While Mr. McKay did not expressly vacate the DFJAB award,

13   he did say that if the defendants sought to have the award

14   enforced, they would be in violation of the PLA and subject to

15   damages and costs incurred by plaintiff in defending “its rights

16   to have that decision set aside.”       Pl.’s Mot., Ex. 8 at 7.

17                                 II. Standard

18        Summary judgment is appropriate when it is demonstrated that

19   there exists no genuine issue as to any material fact, and that the

20   moving party is entitled to judgment as a matter of law.          Fed. R.

21   Civ. P. 56(c); see also Adickes v. S.H. Kress & Co., 398 U.S. 144,

22   157 (1970); Secor Ltd. v. Cetus Corp., 51 F.3d 848, 853 (9th Cir.

23   1995).

24        Under summary judgment practice, the moving party

25        [A]lways bears the initial responsibility of informing
          the district court of the basis for its motion, and
26        identifying   those   portions  of   "the   pleadings,

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 1        depositions, answers to interrogatories, and admissions
          on file, together with the affidavits, if any," which it
 2        believes demonstrate the absence of a genuine issue of
          material fact.
 3
     Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).              "[W]here the
 4
     nonmoving party will bear the burden of proof at trial on a
 5
     dispositive issue, a summary judgment motion may properly be made
 6
     in reliance solely on the 'pleadings, depositions, answers to
 7
     interrogatories, and admissions on file.'"             Id.   Indeed, summary
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     judgment should be entered, after adequate time for discovery and
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     upon motion, against a party who fails to make a showing sufficient
10
     to establish the existence of an element essential to that party's
11
     case, and on which that party will bear the burden of proof at
12
     trial.    See id. at 322.     "[A] complete failure of proof concerning
13
     an essential element of the nonmoving party's case necessarily
14
     renders all other facts immaterial."          Id.    In such a circumstance,
15
     summary judgment should be granted, "so long as whatever is before
16
     the district court demonstrates that the standard for entry of
17
     summary judgment, as set forth in Rule 56(c), is satisfied."               Id.
18
     at 323.
19
          If the moving party meets its initial responsibility, the
20
     burden then shifts to the opposing party to establish that a
21
     genuine    issue   as   to   any   material   fact    actually   does   exist.
22
     Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
23
     586 (1986); see also First Nat'l Bank of Ariz. v. Cities Serv. Co.,
24
     391 U.S. 253, 288-89 (1968); Secor Ltd., 51 F.3d at 853.
25
          In attempting to establish the existence of this factual
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 1   dispute, the opposing party may not rely upon the denials of its

 2   pleadings, but is required to tender evidence of specific facts in

 3   the form of affidavits, and/or admissible discovery material, in

 4   support of its contention that the dispute exists.          Fed. R. Civ.

 5   P. 56(e); Matsushita, 475 U.S. at 586 n.11; see also First Nat'l

 6   Bank, 391 U.S. at 289; Rand v. Rowland, 154 F.3d 952, 954 (9th Cir.

 7   1998).    The opposing party must demonstrate that the fact in

 8   contention is material, i.e., a fact that might affect the outcome

 9   of the suit under the governing law, Anderson v. Liberty Lobby,

10   Inc., 477 U.S. 242, 248 (1986); Owens v. Local No. 169, Ass’n of

11   Western Pulp and Paper Workers, 971 F.2d 347, 355 (9th Cir. 1992)

12   (quoting T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Ass'n,

13   809 F.2d 626, 630 (9th Cir. 1987)), and that the dispute is

14   genuine, i.e., the evidence is such that a reasonable jury could

15   return a verdict for the nonmoving party, Anderson, 477 U.S. 248-

16   49; see also Cline v. Indus. Maint. Eng’g & Contracting Co., 200

17   F.3d 1223, 1228 (9th Cir. 1999).

18        In the endeavor to establish the existence of a factual

19   dispute, the opposing party need not establish a material issue of

20   fact conclusively in its favor. It is sufficient that "the claimed

21   factual dispute be shown to require a jury or judge to resolve the

22   parties' differing versions of the truth at trial."          First Nat'l

23   Bank, 391 U.S. at 290; see also T.W. Elec. Serv., 809 F.2d at 631.

24   Thus, the "purpose of summary judgment is to 'pierce the pleadings

25   and to assess the proof in order to see whether there is a genuine

26   need for trial.'"     Matsushita, 475 U.S. at 587 (quoting Fed. R.

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 1   Civ. P. 56(e) advisory committee's note on 1963 amendments); see

 2   also Int’l Union of Bricklayers & Allied Craftsman Local Union No.

 3   20 v. Martin Jaska, Inc., 752 F.2d 1401, 1405 (9th Cir. 1985).

 4          In resolving the summary judgment motion, the court examines

 5   the    pleadings,   depositions,   answers   to    interrogatories,    and

 6   admissions on file, together with the affidavits, if any.             Rule

 7   56(c); see also In re Citric Acid Litigation, 191 F.3d 1090, 1093

 8   (9th Cir. 1999).      The evidence of the opposing party is to be

 9   believed, see Anderson, 477 U.S. at 255, and all reasonable

10   inferences that may be drawn from the facts placed before the court

11   must be drawn in favor of the opposing party, see Matsushita, 475

12   U.S. at 587 (citing United States v. Diebold, Inc., 369 U.S. 654,

13   655 (1962) (per curiam)); See also Headwaters Forest Def. v. County

14   of Humboldt, 211 F.3d 1121, 1132 (9th Cir. 2000).          Nevertheless,

15   inferences are not drawn out of the air, and it is the opposing

16   party's obligation to produce a factual predicate from which the

17   inference may be drawn. See Richards v. Nielsen Freight Lines, 602

18   F. Supp. 1224, 1244-45 (E.D. Cal. 1985), aff'd, 810 F.2d 898, 902

19   (9th Cir. 1987).

20          Finally, to demonstrate a genuine issue, the opposing party

21   "must do more than simply show that there is some metaphysical

22   doubt as to the material facts. . . . Where the record taken as a

23   whole could not lead a rational trier of fact to find for the

24   nonmoving    party,   there   is   no   'genuine   issue   for   trial.'"

25   Matsushita, 475 U.S. at 587 (citation omitted).

26   ////

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 1                                 IV. Analysis

 2        Plaintiff moves for summary judgement, asking that the

 3   decision of McKay, the Permanent Arbitrator under the PLA, be

 4   confirmed and that the decision of DFJAB be vacated.          Defendants

 5   do not oppose plaintiff’s motion to confirm the McKay decision.

 6   That decision found that defendants violated the PLA when they

 7   filed their grievance with DFJAB.       Defendants also do not seek

 8   to confirm the DFJAB decision.      They do, however, argue that the

 9   court may not vacate that decision either.        Therefore, the only

10   issue for the court to resolve is whether or not it may properly

11   vacate the DFJAB decision.

12        The case relied upon by plaintiff, Huber, Hunt & Nichols,

13   Inc. v. United Ass'n & Apprentices of the Plumbing & Pipefitting

14   Indus., Local 38 (“Huber”), 282 F.3d 746 (9th Cir. 2002),

15   controls the outcome of this case.       The relevant facts in Huber

16   are substantially similar to those in the instant action.             In

17   Huber, the general contractor on the Pacific Bell Park project

18   subcontracted work to workers of one union to the exclusion of

19   another.   Id. at 747.    The Plumbers union, whose workers had not

20   been awarded the work, filed a grievance against the general

21   contractor pursuant to their CBA.       Id. at 749.    As here,

22   however, the parties in Huber were signatories to a project wide

23   labor agreement, the Project Stabilization Agreement, that was

24   to resolve disputes between the general contractor and various

25   labor groups.    Id.   The Ninth Circuit held that the decision of

26   the arbitrator pursuant to the project wide labor agreement had

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 1   to be confirmed, and that the award made pursuant to the

 2   aggrieved union’s CBA had to be vacated.        Id. at 749.

 3         Defendants respond in three ways.       First, defendants argue

 4   that because McKay chose not to vacate, doing so now would be an

 5   improper expansion of his award.        Second, defendants note that

 6   McKay’s decision was issued after the DFJAB decision was already

 7   rendered; accordingly, they were not acting in defiance of a

 8   decision by the PLA arbitrator.         Third, defendants maintain that

 9   plaintiff failed to take preventative action to protect the

10   arbitral process and that both awards, although inconsistent,

11   should be allowed to stand.

12   A.   Vacating the DFJAB Award Would Not Expand McKay’s Award

13         Vacating the DFJAB award would not expand McKay’s decision;

14   rather, it would give it effect, because only the district court

15   -- not McKay -- possesses the authority to vacate an arbitration

16   award.   9 U.S.C. § 10 (setting forth situations in which a court

17   may vacate an arbitration award under the Federal Arbitration

18   Act, or “FAA”).2    In addition, McKay’s decision noted that

19   defendants would be liable for costs incurred by plaintiff in

20   defending “its right[] to have that decision set aside,” Pl.’s

21   Mot., Ex. 8, at 7, implying that plaintiff could enforce such a

22   right in the appropriate forum.         Accordingly, the court finds

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            While the FAA is not directly applicable to disputes arising
24   from labor contracts, Craft v. Campbell Soup Co., 177 F.3d 1083
     (9th Cir. 1998), the Labor Management Relations Act, 29 U.S.C. §
25   185, authorizes federal courts to fashion a body of federal law to
     enforce CBAs, of which the FAA is part. Textile Workers Union v.
26   Lincoln Mills, 353 U.S. 448, 451 (1957).

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 1   that the Labor Management Relations Act, 29 U.S.C. § 185(a), in

 2   conjunction with the FAA, provides the court with the authority

 3   to vacate the DFJAB decision.

 4        Defendants’ reliance on Louisiana Pac. Corp. v. Int’l Bd.

 5   of Elec. Workers (“Louisiana Pacific”), 600 F.2d 219, 220 & 223-

 6   25 (9th Cir. 1979), is not to the contrary.        There, the Ninth

 7   Circuit upheld two contradictory awards from different arbitral

 8   boards, effectively obligating the General Contractor to pay two

 9   different sets of employees for the work done of one.          As an

10   initial matter, the two decisions here are not merely

11   duplicative (i.e., requiring a contractor to pay twice for the

12   same work), which was the case in Louisiana Pacific.          Rather,

13   McKay found that the very filing of the grievance under the CBA

14   was itself a violation of the PLA agreement.         The two decisions

15   here are therefore more hostile to one another than were the

16   duplicative awards in Louisiana Pacific.

17        Furthermore, the Huber court expressly distinguished

18   Louisiana Pacific, noting that it did not involve the type of

19   “overarching, multiunion labor agreement” at issue in Huber,

20   which “is designed to trump the local collective bargaining

21   agreements when there is a conflict.”        282 F.3d at 754, n.8.

22   Similarly, the present case also involves “an overarching,

23   multiunion labor agreement” -- here, the Project Labor

24   Agreement.   Indeed, even the Louisiana Pacific court

25   distinguished itself from cases in which there was a mechanism

26   in place for dealing with jurisdictional disputes.          600 F.2d at

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 1   225 (noting that “[a]n employer can presumably protect himself .

 2   . . by contracting with each union for trilateral arbitration in

 3   the case of jurisdictional disputes giving rise to a demand for

 4   arbitration”) (internal quotation marks omitted).

 5        Vacating the DJFAB decision is also sensible from a policy

 6   perspective.   In the context of labor disputes, “arbitration is

 7   a substitute for industrial strife.”       Huber, 282 F.3d at 754

 8   (internal quotation marks omitted).       Allowing the award of one

 9   arbitral body to stand when it is inconsistent with the award

10   made pursuant to a project wide agreement would give rise to the

11   unrest and dissatisfaction that national labor policy seeks to

12   prevent.   Id. at 755.   Accordingly, the court cannot confirm

13   McKay’s award without simultaneously vacating the DFJAB award.

14   B. Order of Awards

15        Next, defendants argue that because DFJAB reached its

16   decision prior to McKay’s decision under the PLA, the former did

17   act in defiance of the latter.      The court disagrees.     The fact

18   that defendants managed to be heard by DFJAB before plaintiff

19   could resolve the dispute under the PLA does not demonstrate

20   that defendants were not acting in defiance of the PLA.          As a

21   factual matter, plaintiff informed defendants prior to and on

22   the day of the grievance hearing that the matter would be heard

23   by McKay under the PLA.     Furthermore, it would undermine the

24   arbitral process if this court were to permit parties to race to

25   an award and then plead ignorance to any future award that may

26   be issued.   Because defendants had notice of the pending hearing

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 1   before the general arbitrator, and because the PLA superceded

 2   the CBA, defendants violated the PLA when they proceeded with

 3   the DFJAB hearing.

 4   C. Plaintiff Was Not Required to Seek an Injunction

 5        Finally, defendants assert that vacating the DFJAB decision

 6   would be inappropriate where plaintiff failed to seek an

 7   injunction to stop DFJAB from hearing the grievance, and where

 8   plaintiff waited a month after the filing of the grievance to

 9   refer the matter to the permanent arbitrator.        The court

10   disagrees.   None of the cases cited by defendants requires a

11   party to seek an injunction in this situation; rather, they

12   merely indicate that an injunction is potentially available when

13   the arbitral process is threatened.       See Aluminum Workers v.

14   Consol. Aluminum Corp., 696 F.2d 437, 441 (6th Cir. 1982);

15   Teamster Local 299 v. U.S. Truck Co. Holdings Inc., 87 F. Supp.

16   2d 726 (E.D. Mich. 2000).

17        Defendants also cite to language in Louisiana Pacific for

18   the proposition that failure to take preventative action should

19   be a significant factor in the court’s determination of whether

20   to vacate an award.    600 F.2d at 226.     That case is

21   distinguishable from the preventative action at issue here.           In

22   Louisiana Pacific, the Ninth Circuit found that the general

23   contractor’s failure to contract for arbitration prior to a

24   jurisdictional dispute precluded it from later seeking judicial

25   relief.   Here, however, the plaintiff did, in fact, contract for

26   arbitration before the jurisdictional dispute arose in the form

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 1   of the PLA.

 2                               IV. Conclusion

 3        Plaintiff's motion for summary judgment is GRANTED.

 4        IT IS SO ORDERED.

 5        DATED:   March 29, 2007.

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